Case No. 1:08-cv-01752-ZLW Document 1 filed 08/18/08 USDC Colorado pgi1of4

FILED

UNITED STATE E
IN THE UNITED STATES DISTRICT COURT DENVER, COLORADO

FOR THE DISTRICT OF COLORADO
AUG f & 2005

Civil Action No. 08 - CV = 0 17% 5 2, CB S GREGORY. LANGHAM

(The above civil action number must appear on all future papers
sent to the court in this action. Failure to include this number
may result in a delay in the consideration of your claims.)

AHMAD PIERSON,
Applicant,
v.
J.M. WILNER, Warden, FCI - Florence,

Respondent.

ORDER DIRECTING CLERK TO COMMENCE CIVIL ACTION AND
DIRECTING APPLICANT TO CURE DEFICIENCY

Applicant has submitted an Application for a Writ of Habeas Corpus Pursuant to
28 U.S.C. § 2241. He has failed either to pay the $5.00 filing fee or to file a Prisoner's
Motion and Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915 in a Habeas
Corpus Action. As part of the court’s review pursuant to D.C.COLO.LCivR 8.2, the
court has determined that the submitted document is deficient as described in this
order. Notwithstanding the deficiencies, the clerk of the court will be directed to
commence a civil action. Applicant will be directed to cure the following if he wishes to
pursue his claims. Any papers which the Applicant files in response to this order must
include the civil action number on this order.
28 U.S.C. § 1915 Motion and Affidavit:

(1) X is not submitted
(2) __ _ is missing affidavit
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(3) _. _ is missing certified copy of prisoner's trust fund statement for the 6-month
period immediately preceding this filing

(4) __ is missing required financial information

(5) __ is missing an original signature by the prisoner

(6) _ is not on proper form (must use the court’s current form)

(7) __ names in caption do not match names in caption of complaint, petition or
habeas application

(8) _  Anoriginal and a copy have not been received by the court.

Only an original has been received.
(9) X other: motion is necessary only if filing fee is not paid in advance.

Complaint, Petition or Application:

(10) _ ~—_ is not submitted

(11) _ is not on proper form (must use the court’s current form)

(12) _ is missing an original signature by the prisoner

(13) __ is missing page nos.

(14) |. —_ uses et al. instead of listing all parties in caption

(15) _ ~~ An original and a copy have not been received by the court. Only an
original has been received.

(16) _ Sufficient copies to serve each defendant/respondent have not been
received by the court.

(17) | names in caption do not match names in text

(18) _ ~~ other

Accordingly, it is
ORDERED that the clerk of the court commence a civil action in this matter. It is
FURTHER ORDERED that the Applicant cure the deficiencies designated above
within thirty (30} days from the date of this order. Any papers which the Applicant
files in response to this order must include the civil action number on this order. Itis
FURTHER ORDERED that the clerk of the court mail to the Applicant, together
with a copy of this order, two copies of the following form(s): Prisoner’s Motion and
Affidavit for Leave to Proceed Pursuant to 28 U.S.C. § 1915 in a Habeas Corpus

Action. It is
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FURTHER ORDERED that, if the Applicant fails to cure the designated
deficiencies within thirty (30) days from the date of this order, the application and

the action will be dismissed without further notice. The dismissal shall be without

prejudice.
DATED at Denver, Colorado, this a day +g , 2008.

BY THE COURT:

CRAIG B. SHAFFER
United States Magistrate Judge
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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

CERTIFICATE OF MAILING

CiilAction No. 3B CY = 017 o2

Ahmad Pierson
Reg. No. 87079-012
FCI - Florence

PO Box 6000
Florence, CO 81226

| hereby certify that | have mailed a copy of the ORDER and two copies of the
Prisoner’s Motion and Affidavit for Leave to Proceed Pursuant to 28S? § 1915
in a Habeas Corpus Action form to the above-named individuals on | l g fo ¥

GREGORY C. LANGHAM, CLERK

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By: be
cypry Clerk

